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15                               UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISCO DIVISION

18
     MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
19   themselves and all others similarly situated,
20                                 Plaintiffs,       DEFENDANT META PLATFORMS,
                                                     INC.’S NOTICE OF MOTION AND
21          v.                                       MOTION TO EXCLUDE EXPERT
22                                                   TESTIMONY AND OPINIONS OF
     META PLATFORMS, INC., a Delaware
     Corporation,                                    MICHAEL WILLIAMS
23
                                   Defendant.        Hearing Date: To Be Determined
24                                                   Time: To Be Determined
                                                     Judge: Hon. James Donato
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 1                                NOTICE OF MOTION AND MOTION

 2           PLEASE TAKE NOTICE that on a date and time to be set by the Court, Defendant Meta
 3   Platforms, Inc. will move to exclude the opinions of Advertiser Plaintiffs’ putative class
 4   certification expert Dr. Michael Williams. Meta’s motion is based on this Notice of Motion, the
 5   supporting Memorandum of Points and Authorities, and the Declaration of David Gringer filed
 6   herewith, along with the accompanying exhibits.
 7           Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,
 8   Inc., 509 U.S. 579 (1993), and its progeny, Meta requests that the Court exclude the Expert Report
 9   of Michael Williams and any testimony drawn therefrom.1
10                          MEMORANDUM OF POINTS AND AUTHORITIES
11                                            INTRODUCTION
12           To certify their proposed class of all advertisers who bought advertising on Meta,
13   Advertisers were required to come forward with a common method of proving that all or nearly
14   all advertisers on Meta were charged supracompetitive prices during the class period and that those
15   supracompetitive prices were because of the alleged conduct. Their putative expert Dr. Michael
16   Williams’s second attempt to do so still does not come close.
17           Disregarding the Court’s instruction that Advertisers’ new expert report was “not an
18   opportunity to come up with new theories,” Apr. 18, 2024 Hr’g Tr. at 31:24-25—Williams’s new
19   report conducts a so-called “yardstick” study that differs in material and unexplained ways from
20   his earlier analyses. Williams’s many changes increase Advertisers’ damages computation by over
21   $5 billion. But just like his original model, his analysis (1) only considers profits, not prices, (2) is
22   not tied at all to the challenged conduct, and (3) violates every maxim for a reliable yardstick study.
23   Williams also produces an entirely new “during-after” calculation that repeats all the errors from
24   his new yardstick study. Williams’s renewed attempt to support Advertisers’ wanting request for
25   class certification is junk science and must be excluded.
26

27   1
       Citations to the Williams Report reference Dkt. 795-19 submitted with Advertisers’ class
28   certification motion. Unless otherwise noted, “Ex.” citations reference exhibits to the Gringer
     Declaration filed herewith, emphasis is added, and objections are omitted for deposition citations.
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 1           Although Williams’s yardstick methodology and during-after calculation are riddled with

 2   problems, this motion focuses on the four most significant problems that render his analyses

 3   manifestly unreliable.

 4           First, Williams’s yardstick study’s fundamental premise—that a firm’s profits necessarily

 5   reflect the price it charged for a particular product—is junk science. As Williams concedes, a

 6   firm’s profit rate is a function of at least three separate levers: price, quantity, and costs. Yet

 7   Williams makes no effort to analyze what changes in costs or quantity would result in a but-for

 8   world without the challenged conduct. He just assumes—with no explanation—that Meta’s

 9   (supposedly) lower profits in the but-for world would have stemmed entirely from decreases in the

10   price of social advertising.

11           Second, Williams’s yardstick study fails to comply with the “most important[]”

12   requirement for a “yardstick methodology,” which is “to control for any factors that might have

13   influenced” a firm’s “performance that are competitively neutral or even procompetitive.” Areeda

14   & Hovenkamp, Antitrust Law ¶397 (2023). Williams concedes that there are many factors,

15   unrelated to pricing or the allegedly anticompetitive conduct that Advertisers challenge in this

16   case, that can cause a firm to maintain high profits. He controls for none. His analysis is, as a result,

17   “worthless” and “irrelevant.” Blue Cross & Blue Shield United of Wis. v. Marshfield Clinic, 152

18   F.3d 588, 593 (7th Cir. 1998) (Posner, J.) (“BCBS”); In re Live Concert Antitrust Litig., 863 F.

19   Supp. 2d 973, 975-76 (C.D. Cal. 2012) (quoting Bazemore v. Friday, 478 U.S. 385, 400 n.10

20   (1986) (Brennan, J., partial concurrence joined by the entire Court)).

21           Third, Williams’s selection of supposed “yardstick” firms is based on a set of criteria that

22   is the expert witness equivalent of throwing darts at a wall. The criteria omit nearly all the features

23   usually relied on to assess firms’ comparability. As for the criteria that were used, several of them

24   were chosen not to identify genuinely comparable firms, but instead for convenience. Ultimately,

25   all five criteria used to filter down to the supposed “yardstick” firms are ones that say nothing

26   about comparability, or are, at best, based on Williams’s ipse dixit. Unsurprisingly, this lack of

27   rigor produces unreliable results. The resulting set of firms includes the same three flawed

28   “yardsticks” Williams’s first report used:           , an alleged direct participant in the challenged

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 1   conduct;        , which operates exclusively in China (and had a higher profit rate than Meta); and

 2                     , a small Polish company that sells tourist packages, architectural plans, and cars.

 3   But the new report, by employing a host of different selection criteria, adds numerous, even farther

 4   flung yardstick firms—including “                                           ,” “                    ,”

 5   “                      ,” German and British real estate portals, several international car sales

 6   websites, American and Chinese stock photography websites, and five firms that do not earn any

 7   revenue from advertising. These firms are nothing like Meta. Meanwhile, the firms excluded are

 8   those that common sense tells us are more comparable to Meta than the bizarre set of 25 companies

 9   ultimately selected.

10           Fourth, Williams’s entirely new “during-after” model repeats the errors described above

11   to calculate Meta’s purportedly excess profits over two different time periods. This model also

12   fails to control for any factors affecting firm profitability, either during or between the two time

13   periods, and thereby calculates a result equally as meaningless as the yardstick study.

14   Compounding this error, Williams concedes that the “during-after” model fails to use a valid

15   benchmark period free of the alleged effects of the challenged conduct, rendering the analysis

16   wholly uninformative and irrelevant to the assessment of injury or damages in this case. Persian

17   Gulf Inc. v. BP West Coast Products LLC, 632 F. Supp. 3d 1108, 1166-67 (S.D. Cal. 2022).

18                                             BACKGROUND

19           Advertisers submitted Williams’s report hoping to prove a common method of showing

20   injury and to identify the damages attributable to the higher prices Meta allegedly charged due to

21   the conduct at issue. To do so, Williams compares what he describes as the “economic profit rate”

22   (or “EPR”) for Meta’s advertising business to the weighted average EPRs for what he claims are

23   25 “yardstick” firms—

24

25

26

27                             . Williams Rep. ¶104 tbl.6. Williams lists five criteria—as compared to the

28   six in his original report—that he used to select his 25 yardstick firms. Id. ¶99.

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 1            Next, Williams proposes a hypothetical reduction in advertising revenue that would have

 2   lowered Meta’s economic profit rate to match the yardstick average. Williams Rep. ¶¶100-09. He

 3   then “               ” the percentage reduction “

 4                                                ,” yielding a “

 5                        ” to the proposed Class. Id. ¶110.

 6            That is where Williams’s yardstick study stops. He does not analyze whether, in a world

 7   where Meta did earn lower profits, that reduction would have flowed from a revenue decrease or

 8   some other cause (like cost increases or reductions in sales volume). He does not analyze why

 9   Meta’s alleged EPR is higher than the yardstick firms’, even though he concedes that numerous

10   factors can cause one company to have a higher EPR than others. He does not isolate how much

11   (if any) of that profitability may be due to the challenged conduct versus other factors. And he

12   never analyzes the prices any advertisers actually paid for advertising on Meta.

13            Finally, in two paragraphs appended to the end of his report, Williams presents an

14   alternative damages model which he calls “                     .” Williams Rep. ¶107. He does so by

15   conducting the same yardstick study described above twice, over two different time periods (2016-

16   2020 and 2022-2023), and subtracting Meta’s resultant “                  ” over the yardsticks’ in the

17   two time periods from one another. Id. ¶¶107-08. Williams then calculates a revenue reduction

18   that he claims would reduce Meta’s class period EPR by the difference between the two excess

19   EPR values and “

20                                                ” using “                ” he uses in his yardstick study.

21   Id. ¶91 n.95. This during-after model produces a damages figure between $7.5 billion and $9.3

22   billion. Id. ¶108.

23                                                ARGUMENT

24   I.       WILLIAMS’S YARDSTICK STUDY IS JUNK SCIENCE

25            Williams’s approach suffers from three independently fatal flaws that render his yardstick
26   analysis unreliable and inadmissible. First, the study does not analyze Meta’s prices at all, only its
27   profits. Second, it assumes that the difference between Meta’s EPR and the yardstick firms’ is
28   wholly attributable to the challenged conduct, without accounting for salient variables that he

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 1   acknowledges affect Meta’s profitability. And third, the study employs entirely arbitrary criteria

 2   to select the yardsticks, yielding facially absurd comparator firms. The study is junk science, and

 3   its results confirm that.

 4                   Williams Fails To Analyze Prices
 5           The first error in Williams’s study flows from its basic premise—the study looks only at
 6   Meta’s profits, rather than its prices, to determine whether and to what extent class members were
 7   purportedly overcharged. Ex. 1, Williams 6/24 Tr. 44:14-21. But profits are not the same as prices.
 8   There are at least three levers that influence a firm’s profitability: price, quantity, and costs. See
 9   id. at 20:12-16 (                                                                                   ).
10   Williams’s study entirely ignores two of those three levers. He simply assumes that if Meta’s
11   profits had been lower in the but-for world, that reduction in profitability would have come about
12   entirely from a decrease in the price of social advertising. He does not consider whether, in a but-
13   for world without the challenged conduct, Meta’s costs or the quantity of advertising that it sold
14   would have been different, and instead assumes that both would be unchanged. Id. at 61:9-64:18,
15   65:13-67:21. Williams has not, and cannot, provide a basis for making those assumptions. As a
16   result, the essential premise of his damages analysis—that a supposed reduction in Meta’s profits
17   he believes would have come about in the but-for world can be converted, dollar-for-dollar, into a
18   reduction in advertising prices—is baseless. Williams’s hypothesized reduction in Meta’s profits
19   could just as well be accomplished through an increase in Meta’s costs (if, for instance, divesting
20   Instagram resulted in lost efficiency) or a reduction in sales quantity (if Meta lost market share to
21   new rivals). Williams’s study does not even consider those possibilities, let alone attempt to
22   quantify them or rule them out. Id. at 40:2-12 (
23

24                                                      ). The study thus provides no information about
25   whether or how the challenged conduct affected Meta’s prices at all. Because the study’s profits-
26   based analysis is “based on assumptions” about how a decrease in Meta’s profits would have come
27   about in the but-for world “that are not supported by the evidence,” it is inadmissible junk science.
28   In re Google Play Store Antitrust Litig., 2023 WL 5532128, at *9 (N.D. Cal. Aug 28, 2023)

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 1                           ). But Williams fails to account for any of these factors. See Ex. 1, Williams

 2   6/24 Tr. 39:19-40:1 (

 3                                                                                                       ).

 4   Thus, the yardstick study cannot even speak to the reasons for Meta’s profits. This is a problem

 5   with which Williams is familiar. See Grasshopper House, LLC v. Clean & Sober Media LLC, 2019

 6   WL 12074086, at *12 (C.D. Cal. July 1, 2019) (“Dr. Williams’ methodology is also deficient for

 7   failing to consider [] other factors” affecting profitability other than the alleged misconduct). But

 8   he repeats the same error here.

 9            To excuse this significant failure in his study, Williams asserts EPR is a “

10                                                                   ” between noncomparable firms that

11   implicitly “

12                   ” Williams Rep. ¶¶76-77; see also id. ¶83 (“

13

14                                                                                        ”). He concedes

15   that he did not “                        ” factors “

16                   ” but claims that he did not need to because those factors are already purportedly

17   “                                                                 .” Ex. 1, Williams 6/24 Tr. 105:7-

18   107:8; see also id. at 35:11-36:12 (

19

20                                                                                                 ).

21            Williams cites no authority for that fanciful proposition, and it is wrong. EPRs are not

22   magic. As explained in literature Williams elsewhere relies upon, entirely lawful factors like

23   offering innovative and high-quality products can drive return on invested capital, which in turn

24   can drive economic profits. Ex. 3, Tim Koller et al., Valuation: Measuring and Managing the

25   Value of Companies (2020) at 40-41, 129, 131. Thus, far from supporting Williams’s claim that

26   EPRs somehow normalize innovation, product improvement, and other lawful factors across firms

27   such that there is no need to control for them in a yardstick study, the literature he relies on

28   establishes that those lawful factors contribute directly to firms’ EPRs. That means that, unless the

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 1   chosen yardsticks have the same degree of innovation, product quality, and the like, Meta’s excess

 2   EPR over the yardsticks is at least as likely due to lawful factors like innovation and product quality

 3   as it is to the challenged conduct. Yet none of Williams’s yardstick selection criteria were designed

 4   to identify firms comparable to Meta along these dimensions, and Williams does not claim that the

 5   final set of chosen yardsticks are in fact so comparable. See Williams Rep. ¶100; see also Ex. 1,

 6   Williams 6/24 Tr. 104:9-17 (“

 7          ”); id. at 106:1-17 (

 8                                                                                                          ).

 9   As a result, Williams’s use of EPRs cannot excuse his failure to control for lawful factors affecting

10   Meta’s profit rate.

11           Second, Williams fails to distinguish between in-market profits and out-of-market profits.

12   His study examined all of Meta’s profits from all the ads that it sells. See Ex. 1, Williams 6/24 Tr.

13   68:22-69:5. But Advertisers allege that Meta monopolizes a submarket of the broader online

14   advertising market that Advertisers call “social” advertising. The broader online advertising

15   market is highly competitive, and, as explained in Meta’s concurrently filed class certification

16   opposition and as Advertisers’ other experts conceded, not all ads Meta sells are “social.” Ex. 4,

17   Fasser Tr. 97:8-12 (ads “placed on Facebook Marketplace that a user would encounter based on

18   their entering of a search term … constitute search advertising”); id. at 82:15-83:1 (ads purchased

19   through the Meta Audience Network are not “social advertisements” unless they are “placed on

20   other social media networks”); Ex. 5, Gans Tr. 94:6-11 (“[A]ds that target purely on age and

21   location data” are not “ads that use data on social connections between users.”). The contribution

22   to Meta’s profitability of its sale of non-“social” ads is yet another “salient factor[] not attributable

23   to the [alleged] misconduct” for which Williams failed to control, requiring exclusion of his study.

24   BCBS, 152 F.2d at 593.

25           Because Williams’s study makes no attempt to “account for … other possible

26   explanation(s) for [the] disparity” observed between Meta’s EPR and the yardsticks’ other than

27   the conduct Advertisers are challenging, it fails the most basic requirement of a reliable yardstick

28   study and must be excluded. In re Live Concert, 863 F. Supp. 2d at 975 (“yardstick” study is

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 1   admissible only if it “account[s] for … other possible explanation(s) for the disparity” observed

 2   between firms before attributing the difference to anticompetitive conduct); BCBS, 152 F.3d at

 3   593; El Aguila Food Prod., Inc. v. Gruma Corp., 301 F. Supp. 2d 612, 625 (S.D. Tex. 2003)

 4   (excluding damages model that characterized all variance from benchmark as “a result of an

 5   antitrust injury” and “ignore[d] market realities and other externalities” that could have caused

 6   variance), aff’d, 131 F. App’x 450, 453 (5th Cir. 2005).

 7                  The Selection Criteria Used To Identify The Yardstick Firms Are Arbitrary
 8          The five selection criteria that Williams utilized (down from the six employed in his
 9   original report) to identify the yardstick firms forming the foundation for his study are not the
10   product of a reliable methodology. And the bizarre final set of 25 firms simply confirms the
11   unreliability of the selection process. See Shannon v. Crowley, 538 F. Supp. 476, 481 (N.D. Cal.
12   1981) (a reliable yardstick study must compare the defendant to businesses that are “nearly as
13   identical as possible”); see also Eleven Line, Inc. v. North Tex. State Soccer Ass’n, 213 F.3d 198,
14   208 (5th Cir. 2000) (Plaintiffs bear the burden of “demonstrat[ing] the reasonable similarity” of
15   the defendant’s business to the proposed comparators in the yardstick study). Indeed, other than
16            the list lacks any of the companies that commentators typically mention in the same breath
17   as Meta—no Twitter, no LinkedIn, no TikTok, no Snapchat, no Apple, no Amazon, no Reddit.
18          The factors Williams does rely on to produce his yardsticks (considered jointly or
19   independently) do not target comparability. Consider each filter in turn.
20          First, Williams limits the yardstick firms to
21                            . He does so not because               are any more comparable to Meta
22   than              , but instead for convenience—
23                                                                               Williams Rep. ¶99 n.101;
24   Ex. 1, Williams 6/24 Tr. 107:9-108:3 (“
25            ”). But whether a firm has                                          says nothing about their
26   comparability to Meta. Indeed, Williams agreed that
27

28

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 1                                                                                       Id. at 109:9-110:4.2

 2   The fact that Williams chose this filter
 3                  does not itself require exclusion of the yardstick study. But it does make clear that this
 4   first filter, at least, does not work towards producing a comparable set of firms.
 5            Second, Williams limits the yardsticks to those that
 6                                      That filter brings the set of comparable firms from 33,253 to just
 7   154—eliminating 99.5% of possible comparators—and excludes brands with massive online
 8   advertising businesses (like Amazon, Microsoft, and Verizon). Williams Rep. ¶99(2). Despite the
 9   filter’s dramatic effect on his study results, Williams admitted that
10

11                 . Ex. 2, Williams 9/23 Tr. 214:16-215:16 (“
12                                                        ”); Ex. 1, Williams 6/24 Tr. 114:1-24 (
13                                                                                       ). But when pressed
14   to nonetheless justify the filter, Williams nonsensically testified that
15

16                                                                         Ex. 2, Williams 9/23 Tr. 209:11-
17   210:1. The goal was to identify firms comparable to Meta, but the way comparators were identified
18   was based on a misclassification of Meta. In an emerging pattern, then, the second filter does
19   nothing to produce a comparable set of firms, and excludes potentially superior comparators to the
20   yardsticks.
21            Third and fourth, Williams limited the yardsticks to firms with
22

23                          . Williams Report ¶ 99(3), (4). Williams’s goal in applying these filters was not
24   to identify comparable firms but instead to                                             Ex. 1, Williams
25   6/24 Tr. 124:24-125:15. Williams testified that
26

27   2
       Advertisers served dozens of non-party subpoenas in this case and had every opportunity to seek
28   relevant financial information from appropriate potential comparators (including privately held
     companies), which they either did not do or, if they did, did not like what they found.
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 1                                                                           . Id. at 128:21-129:14. That is

 2   code for “ipse dixit” and is insufficient to demonstrate that he identified a “‘reasonable facsimile’”

 3   or “benchmark” firm. See Play Store, 2023 WL 5532128, at *9. These filters, then, once again

 4   failed to reliably select for comparable firms.

 5          Fifth, Williams eliminated any firm that

 6              . Williams Rep. ¶99(5). This filter is likewise an outcome-oriented choice justifiable only

 7   by ipse dixit. Williams’s report just asserts that companies “

 8                                                                                                  .” Id. ¶99

 9   n.104. But Williams admitted that in reality this filter does not “

10                     ” Ex. 1, Williams 6/24 Tr. 143:3-16. And it is common knowledge that companies

11   can have                    before delivering very significant profits, meaning there is no necessary

12   connection between                                  and a low profit rate over the class period. Id. at

13   142:7-11 (“

14

15                                     ”). Application of this filter substantially undermines the reliability

16   of the methodology—for example, this filter removed Twitter as a comparator to Meta. Williams

17   Rep. ¶104 n.108.

18          In the end, Williams’s selection criteria did nothing to select comparable firms—they

19   instead excluded scores of comparable firms in favor of firms with little to no relevance to Meta,

20   including 16 foreign companies, most of which operate principally overseas, 10 firms that derive

21   less than 10% of their revenue from advertising, and five firms which derive no revenue from

22   advertising. Williams Rep. ¶104 tbl.6. Williams’s report makes no attempt to justify why any of

23   these firms are actually comparable to Meta. His purported benchmarks include outlandish

24   selections like

25   (which, according to Williams, has no ad revenue) and                               and

26                              —the latter of which also (according to Williams) has no ad revenue and

27   whose business, when pressed, Williams could not even explain. Ex. 1, Williams 6/24 Tr. 148:21-

28   149:8. They also include                     , an obscure Polish firm that is a fraction of Meta’s size

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 1   and sells tourist packages, architectural plans, and cars. This was one of the three yardstick firms

 2   identified in Williams’s prior study. Despite previously testifying that

 3

 4         , Williams inexplicably included                     as a yardstick again in his new study. Ex.

 5   2, Williams 9/23 Tr. 228:11-229:2.

 6           To be clear, this is not merely a dispute over the weight the factfinder should give to

 7   Williams’s study. The phrase “junk science” is “appropriately applied to [a] sampling of

 8   supposedly comparable companies” that, as here, lacks any “showing of comparability.” Loeffel

 9   Steel Prods., Inc. v. Delta Brands, Inc., 387 F. Supp. 2d 794, 812, 817 (N.D. Ill. 2005). That is

10   particularly true here because Williams “has failed to perform any substantive analysis of those

11   factors most relevant to comparability.” In re Blood Reagents Antitrust Litig., 2015 WL 6123211,

12   at *22 (E.D. Pa. Oct. 19, 2015); see also Muffett v. City of Yakima, 2012 WL 12827492, at *3

13   (E.D. Wash. July 20, 2012); CDW LLC v. NETech Corp., 906 F. Supp. 2d 815, 825 (S.D. Ind.

14   2012). The fact that Williams has now twice failed to screen out such obviously erroneous

15   comparators, and ultimately chose this bizarre final set of yardsticks, confirms that his selection

16   criteria are junk science. The yardstick study should therefore be excluded.

17   II.     WILLIAMS’S “DURING-AFTER” MODEL IS JUNK SCIENCE

18           Williams’s during-after analysis should be excluded because it repeats the same errors
19   endemic to his yardstick analysis and,                                         , it has no relationship
20   whatsoever to facts of this case.
21           First, Williams’ during-after model is infected by the same methodological flaws pervasive
22   in his yardstick analysis. The yardsticks for the 2022-2023 period were chosen using the same
23   series of arbitrary filters as his original yardstick study, yielding another baffling set of
24   comparators (which Williams does not even disclose in the body of his report) that satisfied the
25   criteria as of the 2022-2023 period. Williams Rep. ¶107. This model, again, examines Meta’s
26   profits, not its prices. And it again contains no controls for any non-price or lawful factors unrelated
27   to the conduct Advertisers challenge, including innovation, product quality, and Meta’s sales of
28   non-“social” ads. Ex. 1, Williams 6/24 Tr. 153:11-154:3 (“

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 1

 2                                    ”).

 3          It also introduces a further error by failing to even examine, much less control for, salient

 4   differences between the two time periods that could have affected either Meta’s or the yardsticks’

 5   EPRs. Ex. 1, Williams 6/24 Tr. 167:4-168:2 (“

 6

 7                                                                   ”); id. at 154:23-156:2 (

 8

 9

10                                                                                                   ). The

11   only such factor Williams even purported to consider was “                                           ,”

12   Williams Rep. ¶90, but he admitted that he did not do any “

13

14                                              ” Ex. 1, Williams 6/24 Tr. 161:17-162:4.

15          That Williams has labeled this model a during-after analysis (as opposed to a yardstick

16   study), does not relieve him of his obligation to account for such confounding factors. A proper

17   during-after study, like a proper yardstick study, must “correct[] … for any nonconspiratorial

18   factors that might have caused the prices that are being compared to be different from each other.”

19   BCBS, 152 F.3d at 592. Thus, the Court should exclude Williams’ during-after analysis for the

20   same reasons it should exclude his failed yardstick study.

21          Second, the during-after analysis does not fit the facts of the case. It is a “basic econometric

22   principle” that a benchmarking analysis conducted over two time periods like this one must

23   “select[] a benchmark period that is reasonably free of misconduct so that it can serve its

24   fundamental purpose—to act as a baseline such that conclusions can be drawn about how

25   anticompetitive conduct impacted prices in the damages period.” Persian Gulf, 632 F. Supp. 3d at

26   1166. By his own admission, Williams does not do this. Instead, he claims that “

27

28                                                           ” and that the 2022-2023 benchmark period

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 1   he selected still “                                                                    .” Williams Rep.

 2   ¶¶89, 108. Thus, 2022-2023 “is not an approximation of a ‘clean period’ under any metric.”

 3   Persian Gulf, 632 F. Supp. 3d at 1167. By failing to compare Meta’s profits during the period in

 4   which the effects of the challenged conduct were allegedly present to a clean benchmark after their

 5   terminus, Williams has constructed a damages model “divorced from the reality of the case that

 6   [Advertisers] are actually trying to prove.” Id. This is, again, a problem with which Williams is

 7   familiar. Id. (excluding Williams’s damages model for failure to identify a clean benchmark

 8   period). Williams’s interim, atmospheric calculation of a “                       ,” multibillion-dollar

 9   damages estimate says nothing about any actual damages sustained by individual advertisers “and

10   is thus not sufficiently tied to [Advertisers’] liability case to help the factfinder.” Id. at 1167-68. It

11   should therefore be excluded. See Daubert, 509 U.S. at 591.

12                                              CONCLUSION

13           For the foregoing reasons, the Court should exclude the testimony of Michael Williams.

14

15

16    Dated: June 21, 2024                                 Respectfully submitted,

17                                                         By: /s/ Sonal N. Mehta
                                                               Sonal N. Mehta (SBN 222086)
18

19                                                         WILMER CUTLER PICKERING HALE
                                                           AND DORR LLP
20                                                         Attorney for Defendant Meta Platforms, Inc.

21

22                                     CERTIFICATE OF SERVICE

23           I hereby certify that on this 21st day of June 2024, I electronically transmitted the public

24   redacted version of the foregoing document to the Clerk’s Office using the CM/ECF System and

25   caused the version of the foregoing document filed under seal to be transmitted to counsel of record

26   by email.

27                                                       By:    /s/ Sonal N. Mehta
                                                                 Sonal N. Mehta
28

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